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IN THE UN|TED STATES DlSTR|CT COURT
FOR THE DISTRlCT OF COLORADO

Crimina| Case No. 18-cr-00055-CMA

UN|TED STATES OF AMER|CA

Plaintiff,

v.

ROBERT DEAN MASON,
Defendant.

 

PLEA AGREEMENT

 

The United States of America (the government), by and through Vateria Spencer,
Assistant United States Attorney for the District of Co|orado, and the defendant Robert
Mason, personally and through counsel, Eric Za|e, submit the following Plea Agreement

pursuant to D.C.COLO.LCFR 11.1.

l_-__A_C_S_\YEML|`.

A. Defendant’s Obligations

1. Count of Conviction `

The defendant agrees to plead guilty to the sole count of the lnformation,
charging a violation of 18 U.S.C. § 2252A(a)(5)(B) - Possession of Child Pornography.
The defendant agrees to forfeit the electronic devices seized by the Federal Bureau of

investigation in the execution of the search warrant on his residence

1 couRT ExHiBiT

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2. Sentencing Position

As part of this agreement, the defendant agrees not to seek a sentence less than
5 years or 60 months This is because the parties have agreed that the government will
not bring charges involving distribution of child pornography, which carry penalties that
include a sentence of imprisonment of nor less than 5 years or 60 months 18 U.S.C. §
2252A(b)(i ).

3. Waiver of Appea|

The defendant is aware that 18 U.S.C. § 3742 affords the right to appeal the
sentence, including the manner in which that sentence is determined. Understanding
this, and in exchange for the concessions made by the government in this agreementl
the defendant knowingly and voluntarily waives the right to appeal any matter in
connection with this prosecution, conviction, or sentence unless it meets one of the
following criteria: (1) the sentence exceeds the maximum penalty provided in the statute
of conviction; (2) the sentence exceeds the guideline range applicable to a total offense
level of 28; or (3) the government appeals the sentence imposed lf any of these three
criteria app|y, the defendant may appeal on any ground that is properly available in an
appeal that follows a guilty plea_

The defendant also knowingiy and voluntarily waives the right to chailenge this
prosecution, conviction, or sentence in any collateral attack (including1 but not limited to,
a motion brought under 28 U.S.C. § 2255). This waiver provision does not prevent the
defendant from seeking relief othenNise available in a collateral attack on any of the
following grounds: (1) the defendant should receive the benefit of an explicitly

retroactive change in the sentencing guidelines or sentencing statute; (2) the defendant

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was deprived of the effective assistance of counsel; or (3) the defendant was prejudiced
by prosecutorial misconduct

4. Defendant’s Abandonment of Rightl Titie, and Claim to Seize_Ld Propertv

The United States of America and the defendant hereby agree that any property
subject to forfeiture pursuant to 18 U.S.C. § 2253, seized from the defendant or his co-
defendants, and currently in the custody and/or control of the Federal Bureau of
investigation, was properly seized and that such property constitutes evidence,
contraband, or fruits of the crimes to which the defendant has pleaded guilty. As such,
the defendant hereby relinquishes all ciaims, titie, and interest the defendant has in
such property, specifically identified in the section below, to the United States of
America with the understanding and consent that the Federal Bureau of investigation ,
or other appropriate agency, is to destroy the property described above forthwith without
further obligation or duty whatsoever owing to the defendant or any other person.

As part of the Plea Agreement in this case, the defendant hereby states under
penalty of perjury that the defendant was the sole and rightful owner of the previously
referenced property, and that the defendant hereby voluntarily abandons ali right and
claim to this property

5. Forfeiture of Assets
The defendant agrees to forfeit to the United States immediately and voluntarily any
and all assets and property, or portions thereof, subject to forfeiture, pursuant to 18
U.S.C. § 2253, whether in the possession or control of the United States or in the
possession or control of the defendant or defendants nominees, or elsewhere The

assets to be forfeited specifically inciude, but are not limited to:

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DELL POWEREDGE 160080 S/N 4122441

SERVER, SERVICE TAG 7DDJG11

SYNOLOGY PRS D82415+ SIN 157OMCN151800
SYNOLOGY DS415 S/N 1490M|N676505

L|AN LI DESKTOP COMPUTER

BOX OF 31 HARD DRiVES

ANTEC DESKTOP COMPUTER 332355 AO1

CORSA|R DESKTOP COMPUTER 114814489702

. DELL XPS LAPTOP

10.CORSA|R DESKTOP CO|V|PUTER 108415'|59702

11.2 SSD'S, ST|CK SHAPE

12. F|VE SAS HARD DR|VES

13.SEAGATE TSOGB HARD DRlVE

‘|4.SEAGATE SATA SIN WBBOODQF

15.SOL|D STATE DR|VE - NO iDENT|FlER

16. DELL DESKTOP COMPUTER SERV|CE CODE CNRGRJ1
17.'IWO SOL|D STATE DRlVES

18.2 SEAGATE, 1 UNKNOWN HARD DRlVES, STB, 1.5TB, 3TB
19.SEAGATE AND |BN| LAPTOP HARD DR|VES

20. SEAGATE HARD DR|VES FRO|V| |CY DOCK - 2TB

21 .TWO SEAGATE 2TB HARD DR|VES

22. TWO FLASHDR|VES AND TEN DVD'SJ'CD'S

23.TWO SEAGATE HARD DRlVES; 2TB & 'iTB1 9 FLASH DR|VES

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The defendant agrees and consents to the forfeiture of these assets pursuant to
any federal criminai, civii, andi'or administrative forfeiture action. The defendant also
hereby agrees that the forfeiture described herein is not excessive and, in any event
the defendant waives any constitutional claims that the defendant may have_

Forfeiture of the defendants assets shall not be treated as satisfaction of any
tine, restitution, cost of imprisonment or any other penalty this Court may impose upon

the defendant in addition to forfeiture

B. Government’s Obligations
1. Pursuit of Additionai Charges

|f the defendant enters an unconditional plea of guilty to Count 1 of the

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information and otherwise fulfills all obligations outlined above, the government agrees
not to charge the defendant with any other violations of law now known to the United
States Attorney’s Off`ice for the District of Colorado.

2. Accej:_itance of Responsibiiig_y

|f the defendant engages in no conduct that otherwise implicates § 301.1, the
government agrees that a 3 point reduction in the offense levet for acceptance of
responsibilityl pursuant to § 3E1.1, is appropriate and agrees to make the appropriate
motion at the appropriate time

C. Effect of Withdrawai from Piea Agreement

The parties stipulate and agree that the government may unilaterally withdraw
from this Piea Agreement under any of the following circumstances: 1) if the defendant
does not plead guilty to Count 1 of the information; 2) if the Court does not accept the
defendants guilty plea; 3) if the defendant successfully withdraws his plea, either in the
district court or on direct or collateral appeai; 4) if the defendant at any time after
judgment is entered obtains dismissal , reversal or remand of the count of conviction for
any reason; or 5) if the court rejects this Piea Agreement (or any part thereof), either
before, during, or after sentencing

ll. ELEMENTS OF THE OFFENSE

The parties agree that the elements of the offense to which this plea is being
tendered the crime of Possession of Child Pornography, 18 U.S.C. § 2252A(a)(5)(B),

are as follows:

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One: Defendant knowingly possessed any book, magazine, periodicai, fiim,
videotape, computer disk, any other material that contained an image of child
pornography;

Two: That the child pornography has been mailed or has been shipped or
transported using any means or facility of interstate or foreign commerce or in or
affecting interstate or foreign commerce by any means, including by computer, or was
produced using materials that have been mailed, or that have been shipped or
transported in or affecting interstate or foreign commerce by any means, including by
computer; and

Three: That when the defendant possessed the child pornography, he knew it
was child pornography1

“Possession” is denned as “the holding or having something material or
immaterial as one’s own, or in one’s control.” United States v. Bass, 411 F.3d 1198,
1201 (10th Cir. 2005) (quotations and citations omitted) (chiid pornography possession
case)_

“Chilcl pornography” is defined as “any visual depiction, including any
photograph, fi|m, video, picture, or computer or computer~generated image or picture,
whether made or produced by electronic, mechanical, or other means, of sexually
explicit conduct where the production of such visual depiction involves the use of a
minor engaging in sexually explicit conduct"2

"Sexualiy explicit conduct" means actual or simulated:

 

§18 U.S.C. § 2252A{5)(B); Elcverlth Circuit Pattcrn Jury Instruction 83.4A (2010) [moditied]. The Tenth
Circuit does not have a pattern instruction on this crimc.
2 18 U.S.C. § 2256(8)(A).

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1. sexuai intercourse, including genitai~genital, ora|~genitall anal-genital, or
oral-anal, whether between persons of the same or opposite sex; or

2. bestiality; or

3. masturbation; or

4. sadistic or masochistic abuse; or

5. lascivious exhibition of the genitals or pubic area of any person.3
||i. STATUTORY PENAL.T|ES

Based on the defendants criminal history known at this time, the maximum
statutory penalty for a violation of 18 U.S.C. § 2252A(a)(5)(B) and (b)(2) is not more
than 10 years imprisonment not more than a $250,000 fine, or both. 18 U.S.C. §
2252A(b)(2). Pursuant to 18 U.S.C. § 3583(k), because the defendant is pleading guilty
to violating 18 U.S.C. § 2252A, the term of supervised release is not less than 5 years
and up to a term of |ife. Defendant will also be required to pay a $100 special
assessment fee. Defendant will also be required to pay a $5,000 special assessment
fee unless the Court finds that the defendant is indigent

iv. cg_mrsn£_ coNsEQuENcEs

The conviction may cause the loss of civil rights, including but not limited to the
rights to possess firearms, vote, hold elected office, and sit on a jury.

A. Futu_re Vioigtions of Supervised Relg@

if supervised release is imposed a violation of any conditions of probation or

supervised release may result in a separate prison sentence and additional supervision.

 

3 13 U_s.c_ § 2256(2)(A)_

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if a condition of release is violated the defendant may be sentenced to up to 5 years
without credit for pre-release imprisonment or time previously served on post-release
supervision; if the defendant commits any criminal offense under Chapter 109A, 110, or
117, or Title 18, United States Code, Sections 1201 or 1591, for which imprisonment for
a term longer than 1 year can be imposed the defendant may be sentenced to not less
than 5 years and up to the maximum term of imprisonment for the offense, as set forth
above.

B. Registration under the Sex Offender Registration and Notification Act

The defendant has been advised and he understands that under the Sex
Offender Registration and Notification Act, a federal law1 and pursuant to 18 U.S.C.
§ 3583(d), upon her release from prison and as a condition of his supervised release, if
any, he will be subject to federal and state sex offender registration requirements, and
that those requirements may apply throughout his life. The defendant understands he
must register as a sex offender and must keep the registration current with the state sex
offender registration agency in each of the following jurisdictions: where he was
convicted where he resides, where he is employed and where he is a student The
defendant understands that the requirements for registration include providing his
name, residence address, and the names and addresses of any places where he is or
will be an employee or a student among other information The defendant further
understands that the requirement to keep the registration current includes informing at
least one jurisdiction in which he resides, is an empioyee, or is a student not later than
three business days after any change of name, residence employment or student

statusl The defendant shall comply with requirements to periodically verify in person his

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sex offender registration information The defendant has been advised and
understands, that failure to comply with these obligations subjects him to prosecution for
violations of applicable state law or 18 U.S.C. § 2250, a federal law, which is punishable
by a fine or imprisonment or both. Defendant further understands that under 18 U.S.C.
§ 4042(c), notice will be provided to certain law enforcement agencies upon release
from confinement following conviction.

C. Restitution

Defendant acknowledges that pursuant to 18 U.S.C. § 2259(a), the Court is
required to order restitution for the full amount of the victims’ compensable losses as
defined at 18 U.S.C. § 2259(b)(3) and(c) as may be proved by the government or
stipulated to by the parties. Defendant will be required to pay restitution for the fuii
amount of the victims’ losses to aii victims of the offense to which defendant is pieading
guilty. For purposes of this paragraph, the term "victirn” is defined in 18 U.S.C.
§ 2259(c), and the term “fu|| amount of the victims’ losses” is defined in 18 U.S.C.
§ 2259(b)(3). Defendant further understands the amount of loss sustained by each
victim will be determined during the course of preparation of the presentence
investigation report Defendant acknowledges that the Court may not decline to award
restitution because of the defendants economic circumstances or the fact that the
victims have, or are entitled to receive compensation for their injuries from the proceeds
of insurance or any other source Defendant understands full restitution will be ordered
regardless of defendants financial resources Defendant understands that an
unanticipated amount of a restitution order will riot serve as grounds to Withdraw

defendants guilty plea. Defendant further agrees to comply with any restitution order

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entered at the time of sentencing to the extent that she is financially able to do so.
Defendant understands imposition or payment of restitution will not restrict or preclude
the filing of any civil suit or administrative action Defendant agrees any restitution
imposed will be nondischargeable in any bankruptcy proceeding and defendant will riot

seek a discharge or a finding of dischargeability as to the restitution obligation.
V. ST|PULATlON QF FACTS

The parties agree that there is a factual basis for the guilty plea(s) that the
defendant will tender pursuant to this Piea Agreement. That basis is set forth beiow.
Because the Court must as part of its sentencing methodology, compute the advisory
guideline range for the offense(s) of conviction, consider relevant conduct and consider
the other factors set forth in 18 U.S.C. § 3553, additional facts may be included below
which are pertinent to those considerations and computations To the extent the parties
disagree about the facts set forth beiow, the stipuiation of facts identifies which facts are
known to be in dispute at the time of the execution of the Piea Agreement

The statement of facts herein does not preclude either party from presenting and
arguing, for sentencing purposes additional facts or factors not included herein, which
do not contradict the facts to which the parties have stipulated and which are relevant
to the guideline computation under § 181.3, or to the sentencing factors found in §
1B1.4, 18 U.S.C. § 3553(a), or to this Court’s overall sentencing decision in
"determining the factual basis for the sentence the Court will consider the stipulation of
the parties, together with the results of the presentence investigation, and any other
relevant information." § 6B1.4 Comm.

The parties stipulate to the following facts;

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On Nlarch 20 and 21, 2015, a FBi-Da|las Chi|d Exploitation Task Force Oflicer,
utilizing an undercover internet connection operated software capable of receiving files
from the BitTorrent network The undercover was able to downioad files of child
pornography that the defendant was making availabie through BitTorrent An example
of what was downioaded from the Defendant includes a file named “ldm-004-101” that
depicts a seated prepubescent female with her legs spread The image is a close up
photograph of the juveniie’s anus and genitals, and the child's face is not visible This
image is one of a series of images depicting the same juvenile female in various poses

and stages of undress.

On October 11, 2016, FB| agents in Denver accessed an online law enforcement
tool that specifically shares information about online child exploitation investigations
They learned that Defendant was known through other investigations as a person who
was stiil sharing files of child exploitation material through the BitTorrent network. From
March 21, 2016 through October 8, 2016, agents learned that ten investigators had
downioaded 94 “files of interest" from a device utilizing the Defendant’s home lP
Address 8.44.155.36. A file of interest is a file that contains known or probable child

exploitation materia|_

On November 3, 2016, FBI agents received a flash drive from a Larimer County
Sheriff’s Deputy who had received downioads from Mason while acting in a covert
online capacity in Juiy 2016. The flash drive contains video files and log reports of files
received from the Defendant's home lP address, downioaded on Ju|y 23, 2016 and
September 26, 2016. For examp|e, one video the l_arimer County’s Sherifi’s Deputy was
able to downioad from the Defendant was titled “Va|ya-45,” a video approximately 38:54

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in length that depicts a prepubescent female The female uses a white phailic object to
anaily penetrate herse|f. An adult male anally penetrates the prepubescent female ata

later time in the video. The adult male then ejaculates on the femaie’s abdomen

On November 30, 2016, FBl agents received a disc containing an obscene video
downioad from a Bou|der County detective from Defendant’s residence iP address The
downioaded video titled "Lolita SecretArea - 10Yo, 11Yo & 12¥0 Old Girls,“ is
approximately 14:48 in length and depicts three prepubescent girls stripping nude and

performing a variety of sexually explicit poses

A federal search warrant was obtained and executed on November 10, 2016, on_the
Defendant’s home Mason was present and agreed to speak with the special agents
Niason admitted collecting child pornography for ten years A forensic review of the
digital items seized pursuant to the search warrant revealed an encrypted folder on one
of hisl computers entitled “Private” which contained Defendant’s child pornography
collection.‘1 The folder contained thousands of image files of child pornography and
age-questionable files, including 4,800 video files Although Mason also collected adult
pornography, the “Private” folder was comprised entirely of child pornography or age
questionable pornography

Defendant admits that he possessed child pornography as defined iri 18 U.S.C.
§ 2256(8)(A); that he knew it was child pornography when he possessed it; that the
material involved minors who had not attained the age of 12 years; that the offense

involved material portraying sadistic or masochistic conduct or other depictions of

 

4 Defendant willingly supplied the password to the encrypted folder.
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violence; that he used a computer to commit the offense; that the offense involved more
than 600 images; and that the child pornography had been mailed or had been shipped
or transported using any means or facility of interstate or foreign commerce or in or
affecting interstate or foreign commerce by any means including by computer, and was
produced using materials that have been mailed or that have been shipped or
transported in or affecting interstate or foreign commerce by any means including by
computer, when the defendant possessed them in Coiorado

V|. ADV|SORY GU|DEL|N§ COMPl_JIAT|ON AND 3553 ADV|SEM_ENT

 

The parties understand that the imposition of sentence in this case is
governed by 18 U.S.C. § 3553. in determining the particular sentence to be imposed
the Court is required to consider seven factors One of those factors is the sentencing
range computed by the Court under advisory guidelines issued by the United States
Sentencing Commission. in cases involving child crimes and sexual offenses
Congress passed Title 18, United States Code, Section 3553(b)(2)(A); however,
consistent with the Supreme Court’s holding in United States v. Booker, 543 U.S. 220
(2005), the parties agree that provision does not mandate this Court to impose a within~
guidelines sentence

in order to aid the Court the parties set forth below their estimate of the advisory
guideline range called for by the United States Sentencing Guideiines. To the extent
that the parties disagree about the guideline computations the recitation below
identifies the matters Which are in dispute

The defendant agrees and consents that facts that determine the offense level

will be found by the Court, by a preponderance of the evidence and that the Court may

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consider and use any reliable evidence including hearsay and the facts outlined in the
Presentence Report. The parties further agree that the stipulation of facts in this Piea
Agreement will also be used by the Court in determining the sentencing guideline range
The parties provide the following estimated guideline range for the Court’s
consideration pursuant to 18 U.S.C. § 3553(a)(4). The range and calculation of that
guideline range is an estimate oniy, and the parties are not bound if the probation
department determines that a different guideline range applies Any estimation by the
parties regarding the appropriate advisory guideline application does not limit the
positions the parties may take at sentencing on the appropriate sentence for the Court
to impose; rather, those limits are set out in Part | of this Piea Agreement The Court
may impose any sentence up to the statutory maximum, regardless of any advisory
guideline range computed and the parties agree that the Court is not bound by any
position of the parties
Offense Level: The base guideline is § 2(32.2.

A. The base offense level for this offense is 18. § 262.2(3)(1).

B. Because the pornographic material involved a prepubescent minor and minors
Who had not attained the age of 12, there is an increase of +2 levels §
2GZ.2(b)(2).

C. The offense involved material that portrays sadistic or masochistic conduct or
other depictions of violence resulting in an increase of +4 levels § 262.2(b)(4).

D. Because the offense involved the use of a computer or an interactive computer
service for the possession, transmission, receipt or distribution of the materiai,
there is an increase of +2 levels § 262.2(b)(6).

E. Because the offense involved more than 600 images, there is an increase of +5
levels § 2G2.2(b)(7)(D).

F. No victim~reiated role-in-offense, obstruction and/or multiple count adjustments
apply.

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G. Defendant should receive a decrease in the offense level by -2 based upon his
acceptance of responsibility § 3E1.1(a). Defendant should also receive a
decrease in the offense level by -1 for timely notifying the government §
3E1.1(b). At sentencing the government will make the appropriate motion for
the one-point reduction

H. The adjusted offense level is 28.
Criminal History Category

l. The parties acknowledge and agree that the estimation regarding Defendant’s
criminal history is tentative Defendant acknowledges that the criminal history
will be further investigated by the United States Probation Department and
ultimately determined by the Court Defendant further acknowledges that any
additional facts regarding the criminal history can greatly affect the final guideline
range and result in a longer term of imprisonment Based upon the facts known
at this time regarding Defendant's criminal history, the parties believe that
Defendant falls within Criminal History Category ("CHC") l. § 4A1.1.

J. The career offender andlor repeat and dangerous sex offender adjustments do
not apply.

Guide|ine Ranges

K. The guideline range resulting from estimated offense level of 28 as the
government calculates it and the estimated criminal history category of Criminal
History Category l is 78-97 months imprisonment The range could be as low as
78 months with a Criminal History Category of l, and up to 175 months with a
Criminal History Category of Vl.

L. Pursuant to § 5E1.2, assuming the estimated offense level of 28, the fine range
for this offense would be $25,000 to $250,000, plus applicable interest and
penalties

Nl. Pursuant to 18 U.S.C. § 3583(!<) and § 501.2(b)(2), if the Court imposes the term
of supervised release, that term shall be at least 5 years but not more than life

Vii. ENT|RE AGREEMENT

This document states the parties’ entire agreement There are no other
promises agreements (or "side agreements"), terms conditions understandings or

assurances express or implied in entering this agreement neither the government nor

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the defendant has relied or is relying, on any terms promises conditions or

assurances not expressly stated in this agreement

Date: 3-29-'/5' M%v\_,/

 

 

Robert Mason
Defe
Date:%'_ZO /6 [M:
Eric Za|e
Attorney wer

oaa SL,Q/g/r f %/ dc w

Valeria Spencer
Assistant United States Attorney

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